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                                                                  October 16, 2020

VIA ECF
Hon. Lorna G. Schofield
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

        Re:      Joint Stock Company Channel One Russia Worldwide. v. Russian TV Company
                 Inc., et al. (18-cv-2318)(LGS)

Dear Judge Schofield:

       We represent Plaintiff Joint Stock Company “Channel One Russia Worldwide” and write
pursuant to Section I.B.2 of this Court’s Individual Rules and Practices to request an adjournment
of the Teleconference currently scheduled before this Court on October 29, 2020 at 10:30 a.m.
(ECF 252). Counsel for Plaintiff is required to appear at a court-ordered deposition in a separate
matter on October 29, 2020. This is Plaintiff’s first request for an adjournment. Counsel for
Defendants have consented to this request and are available on November 2, 2020 and November
3, 2020 the following week. Plaintiff is also available on those dates.



                                                                  Respectfully submitted,

                                                                  /s/ Hardin P. Rowley

  The application is GRANTED. The pre-motion conference is hereby adjourned from October
  29, 2020, at 10:30 A.M. to November 5, 2020, at 10:30 A.M. The parties shall call (888)
  363-4749 and use Access Code 558-3333. The time of the conference is approximate, but the
  parties shall be ready to proceed at that time.

  SO ORDERED.

  Dated: October 19, 2020
         New York, New York
